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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


  JESSICA JONES, et al.,                              Case No. 2:20-cv-02892-SHL-tmp

                     Plaintiﬀs,

  v.

  VARSITY BRANDS, LLC, et al.

                     Defendants.

                                                      JURY DEMAND



       PLAINTIFFS’ SUR-REPLY TO DEFENDANTS’ EVIDENTIARY OBJECTIONS


         Pursuant to LR 56.1(e), Plaintiﬀs Jessica Jones and Christina Lorenzen (“Plaintiﬀs”)

  hereby submit the following Sur-Reply to Defendants Varsity Brands, LLC, Varsity Spirit, LLC,

  Varsity Spirit Fashions & Supplies, LLC (collectively, “Varsity”), U.S. All Star Federation, Inc.

  (“USASF”), Jeﬀ Webb (“Webb”), Charlesbank Capital Partners LLC (“Charlesbank”), and Bain
  Capital Private Equity (“Bain”) (together with Varsity, USASF, Webb, and Charlesbank,

  “Defendants”) objections to Plaintiﬀs’ evidence (ECF Nos. 507 and 508).

         On July 28, 2023, Defendants filed their motions for Summary Judgment.        e filings

  included a Statement of Undisputed Material Facts in Support of Defendants’ Joint Motion for

  Summary Judgment. ECF No. 468.

         On September 15, 2023, Plaintiﬀs filed their Oppositions to Defendants motions.

  Plaintiﬀs’ filings included Plaintiﬀs’ Response to Statement of Undisputed Material Facts in

  Support of Defendants’ Joint Motion for Summary Judgment (ECF No. 482). as well as their

  Statement of Additional Undisputed Facts in Support of Plaintiﬀs' Oppositions to Defendants'

  Motion for Summary Judgment (ECF No. 480).




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         On October 13, 2023, Defendants filed responses to each of Plaintiﬀs’ statements of fact:

  Defendants’ Reply in Support of Statement of Undisputed Material Fact (the “Reply”) (ECF No.

  507), and Defendants’ Response to Plaintiﬀs’ Additional Statements of Fact (the “Response”)

  (ECF No. 508).

         Pursuant to LR 56.1(e), Plaintiﬀs may file a sur-reply to objections to evidentiary

  materials raised for the first time in the reply memorandum. Plaintiﬀs’ Sur-Reply to Defendants’

  Reply is attached hereto as Appendix A. Plaintiﬀs’ Sur-Reply to Defendants’ Response is

  attached hereto as Appendix B.

         Plaintiﬀs reserve all rights to raise further responses to Defendants objections at any time

  up to and including trial.




  Dated: October 20, 2023                         Respectfully submitted,

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